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                                   STATEMENT OF FACTS

        On Wednesday, September 1, 2021 at approximately 6:00 a.m., agents with the Federal
Bureau of Investigation (“FBI”) executed a search warrant at the residence of Melvin McLean at
3003 Van Ness Street, NW, Apartment W-709, Washington, D.C. The basis of the search warrant
was reporting from two informants that McLean was selling narcotics from his residence. The
informants also reported that McLean kept narcotics in a locked closet in his bedroom and also in
a safe.

         As agents entered the residence, after knocking and announcing their presence, they
discovered McLean in the bathroom. Next to him was a plate containing approximately a gram of
a powdery substance that subsequently field tested positive for heroin. During a search of the
residence, including the locked bedroom closet, agents located a safe containing multiple
electronic scales, packaging materials, a money counter, razor blades, and cutting agents, which
are all indicia of drug distribution. Agents also seized $1,000 in cash from a box in the closet.

        McLean told the agents that he was a drug user and that he obtained heroin for his own use,
but that he re-sold smaller amounts of heroin to finance his habit.

        McLean is currently on supervised release in United States District Court case 10-cr-50,
following a conviction for Distribution of Cocaine 50 Grams or More. McLean is also currently
on pretrial release and pending sentencing in United States District Court case 19-cr-380,
following a plea to Felon in Possession of a Firearm and Possession with Intent to Distribute
Cocaine. As a condition of his release, McLean is drug tested. According to the Pretrial Services
Report dated June 22, 2021, McLean tested positive for cocaine once, on March 31, 2021, but has
apparently not tested positive since then, and has never tested positive for heroin. This is further
indication that he did not possess the heroin for personal use.



                                      SPECIAL AGENT CHRISTOPHER MACHOVINA
                                      FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1st day of September, 2021.                           Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2021.09.01
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                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
